                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                           )
                                                   )       Case No. 1:07-cr-2
vs.                                                )
                                                   )       JUDGE MATTICE
DONNA JO RUSSELL                                   )       MAGISTRATE JUDGE LEE
                                                   )

                              MEMORANDUM & ORDER
                            ARRAIGNMENT ON INDICTMENT

        In accordance with Rule 10 of the Federal Rules of Criminal Procedure, an arraignment of
the defendant, DONNA JO RUSSELL, on the indictment returned by the Grand Jury was held
before the undersigned on January 18, 2007.

       Those present for the hearing included:

              (1)     AUSA John MacCoon for the USA.
              (2)     The defendant, DONNA JO RUSSELL.
              (3)     Attorney Neal Thompson for defendant Russell.
              (4)     Deputy Clerk Russell Eslinger.
              (5)     Court reporter Shannan Andrews.

        After being sworn in due form of law, the defendant was informed or reminded of her
privilege against self-incrimination accorded under the 5th Amendment to the United States
Constitution.

       The person present was the defendant named in the indictment.

      The defendant acknowledged having been provided with a copy of the indictment and
acknowledged having the opportunity of reviewing the indictment with counsel.

       The defendant waived a formal reading of the indictment in open court. The defendant
entered a not guilty plea to each count of the indictment.

      Presently, the case is assigned the dates set forth in a separate Modified Discovery and
Scheduling Order.

       ENTER.
                                            s/Susan K. Lee
                                            SUSAN K. LEE
                                            UNITED STATES MAGISTRATE JUDGE




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